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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES—GENERAL
Case No. CV 24-5040-MWF(MAR«x) Date July 2, 2024
Title Joshua Cuevas v. Angry Ferret Brewing Company LLC, et al. Page lof1l

Present: The Honorable MICHAEL W. FITZGERALD, United States District Judge

RITA SANCHEZ NOT REPORTED

Deputy Clerk Court Reporter

Attorneys Present for Plaintiff(s) Attorneys Present for Defendant(s)
None Present None Present

Proceedings: (INCHAMBERS) ORDER DECLINING TO EXERCISE SUPPLEMENTAL
JURISDICTION OVER PLAINTIFF’S STATE LAW CLAIMS

The Complaint filed in this action asserts a claim for injunctive relief arising
out of an alleged violation of the Americans with Disabilities Act (“ADA”),
42 U.S.C. §§ 12101-12213, and a claim for damages pursuant to construction-
related accessibility statutes, including the California’s Unruh Civil Rights Act
(“Unruh Act’), Cal. Civ. Code §§ 51-53. As the Court has only supplemental
jurisdiction over the Unruh Act and any other state law claims for construction-
related disability access, and in light of California’s statutory efforts to curb abuses
relating to such claims, the Court ordered Plaintiff to show cause in writing why
the Court should exercise supplemental jurisdiction over the Unruh Act claim(s)
asserted in the Complaint. See 28 U.S.C. §§ 1367(c)(2) & (c)(4). The Court has
reviewed and considered Plaintiff's response to the Court’s Order to Show Cause.

I. DISCUSSION
A. ADA and Unruh Act Claims

The ADA prohibits discrimination “on the basis of disability in the full and
equal enjoyment of the goods, services, facilities, privileges, advantages, or
accommodations of any place of public accommodation by any person who owns,
leases (or leases to), or operates a place of public accommodation.” 42 U.S.C.

§ 12182(a). Under the ADA, “damages are not recoverable . . . only injunctive

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relief is available.” Wander v. Kaus, 304 F.3d 856, 858 (9th Cir. 2002) (citing
42 U.S.C. § 12188(a)(1)).

The Unruh Act provides that all persons in California, “no matter what their
... disability . . . are entitled to the full and equal accommodations, advantages,
facilities, privileges, or services in all business establishments of every kind
whatsoever.” Cal. Civ. Code § 51(b). A violation of the ADA constitutes a
violation of § 51 of the Unruh Act. Jd. § 51(f). Unlike the ADA, however, the
Unruh Act allows for recovery of monetary damages for each and every offense,
“up to a maximum of three times the amount of actual damage but in no case less
than four thousand dollars ($4,000).” Jd. § 52(a). “The litigant need not prove she
suffered actual damages to recover the independent statutory damages of $4,000.”
Molski v. M.J. Cable, Inc., 481 F.3d 724, 731 (9th Cir. 2007).

B.  California’s Limitations on the Filing of Construction-Related
Accessibility Claims

“In 2012, in an attempt to deter baseless claims and vexatious litigation,
California adopted heightened pleading requirements for disability discrimination
lawsuits under the Unruh Act [and other construction-related accessibility
claims].” Velez v. II Fornaio (America) Corp., No. 3:18-cv-1840-CAB (MDD),
2018 WL 6446169, at *6 (S.D. Cal. Dec. 10, 2018). These heightened pleading
requirements apply to actions alleging a “construction-related accessibility claim,”
defined as “any civil claim in a civil action with respect to a place of public
accommodation, including but not limited to, a claim brought under Section 51, 54,
54.1, or 55, based wholly or in part on an alleged violation of any construction-
related accessibility standard.” Cal. Civ. Code § 55.52(a)(1). California’s
heightened standard requires a plaintiff asserting construction-related accessibility
claims to include specific facts concerning the claim, including the specific barriers
encountered or how the plaintiff was deterred and each date on which the plaintiff
encountered each barrier or was deterred. See Cal. Civ. Proc. Code § 425.50(a). A

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complaint alleging construction-related accessibility claims must be verified, or it
is subject to a motion to strike. Id. § 425.50(b)(1).

When California continued to experience large numbers of these types of

actions, it imposed additional limitations on “high-frequency litigants,” which
became effective on October 15, 2015. Under California law, a “high-frequency
litigant” is defined as:

A plaintiff who has filed 10 or more complaints alleging
a construction-related accessibility violation within the
12-month period immediately preceding the filing of the
current complaint alleging a construction-related
accessibility violation.

Id. § 425.55(b)(1). Attorneys may also fall within the definition of “high-
frequency litigants.” See id. § 425.55(b)(2).

In support of these additional requirements on high-frequency litigants, the

California Legislature found and declared:

According to information from the California
Commission on Disability Access, more than one-half, or
54 percent, of all construction-related accessibility
complaints filed between 2012 and 2014 were filed by
two law firms. Forty-six percent of all complaints were
filed by a total of 14 parties. Therefore, a very small
number of plaintiffs have filed a disproportionately large
number of the construction-related accessibility claims in
the state, from 70 to 300 lawsuits each year. Moreover,
these lawsuits are frequently filed against small
businesses on the basis of boilerplate complaints,
apparently seeking quick cash settlements rather than

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correction of the accessibility violation. This practice
unfairly taints the reputation of other innocent disabled
consumers who are merely trying to go about their daily
lives accessing public accommodations as they are
entitled to have full and equal access under the state’s
Unruh Civil Rights Act (Section 51 of the Civil Code)
and the federal Americans with Disability Act of 1990
(Public Law 101-336).

Cal. Civ. Proc. Code § 425.55(a)(2). In response to these “special and unique
circumstances,” id. § 425.55(3), California imposed a “high-frequency litigant fee”
requiring high-frequency litigants to pay a $1,000 filing fee at the time of the filing
of the initial complaint in addition to the standard filing fees. Cal. Gov’t Code

§ 70616.5. California law also requires high-frequency litigants to allege certain
additional facts, including whether the action is filed by, or on behalf of, a high-
frequency litigant, the number of construction-related accessibility claims filed by
the high-frequency litigant in the preceding 12 months, the high-frequency litigant
plaintiff's reason for being in the geographic area of the defendant’s business, and
the reason why the high-frequency litigant plaintiff desired to access the
defendant’s business. See Cal. Civ. Proc. Code § 425.50(a)(4)(A). According to
Plaintiff's response to the Court’s Order to Show Cause, Plaintiff falls within the
definition of a high-frequency litigant.

C. Supplemental Jurisdiction

In an action over which a district court possesses original jurisdiction, that
court “shall have supplemental jurisdiction over all other claims that are so related
to claims in the action within such original jurisdiction that they form part of the
same case or controversy under Article III of the United States Constitution.” 28
U.S.C. § 1367(a). District courts have discretion to decline to exercise
supplemental jurisdiction if:

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(1) _ the claim raises a novel or complex issue of State
law;

(2) the claim substantially predominates over the
claim or claims over which the district court has
original jurisdiction;

(3) the district court has dismissed all claims over
which it has original jurisdiction; or

(4) in exceptional circumstances, there are other
compelling reasons for declining jurisdiction.

Id. § 1367(c).

The Supreme Court has described 28 U.S.C. § 1367(c) as a “codification” of
the principles of ““economy, convenience, fairness, and comity’” that underlie the
Supreme Court’s earlier jurisprudence concerning pendent jurisdiction. City of
Chicago v. Int’l Coll. of Surgeons, 522 U.S. 156, 172-73 (1997) (quoting
Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 357 (1988)); see also United Mine
Workers v. Gibbs, 383 U.S. 715, 726 (1966) (“It has consistently been recognized
that pendent jurisdiction is a doctrine of discretion, not of plaintiff's right. Its
justification lies in considerations of judicial economy, convenience and fairness to
litigants; if these are not present a federal court should hesitate to exercise
jurisdiction over state claims, even though bound to apply state law to them.
Needless decisions of state law should be avoided both as a matter of comity and to
promote justice between the parties, by procuring for them a surer-footed reading
of applicable law.”). The supplemental jurisdiction statute “reflects the
understanding that, when deciding whether to exercise supplemental jurisdiction,
‘a federal court should consider and weigh in each case, and at every stage of the
litigation, the values of judicial economy, convenience, fairness, and comity.’”
Int’l Coll. Of Surgeons, 522 U.S. at 173 (quoting Cohill, 484 U.S. at 350)

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The Ninth Circuit does not require an “explanation [of] a district court’s
reasons [for declining supplemental jurisdiction] when the district court acts
under” 28 U.S.C. §§ 1367(c)(1)-(3). San Pedro Hotel Co. v. City of Los Angeles,
159 F.3d 470, 478 (9th Cir. 1998). When a district court invokes § 1367(c)(4),
however, it must “articulate why the circumstances of the case are exceptional in
addition to inquir[e] whether the balance of the Gibbs values provide compelling
reasons for declining jurisdiction in such circumstances.” Executive Software N.
Am. Inc. v. U.S. Dist. Court for the Cent. Dist. of Cal., 24 F.3d 1545, 1558 (9th Cir.
1994). According to the Ninth Circuit, this “inquiry is not particularly
burdensome.” Jd.

D. The Court Declines to Exercise Supplemental Jurisdiction Over
Plaintiff's Construction-Related Accessibility State Law Claims

Because California’s heightened pleading standards and increased filing fees
do not apply in federal court, plaintiffs can circumvent the restrictions that
California has imposed on construction-related accessibility claims by relying on §
1367(a)’s grant of supplemental jurisdiction to file their construction-related
accessibility claims in federal court in combination with an ADA claim for
injunctive relief. The number of construction-related accessibility claims filed in
the Central District has skyrocketed both numerically and as a percentage of total
civil filings since California began its efforts to curtail the filing of such actions.
According to statistics compiled by the Clerk’s Office, in 2013, the first year in
which California’s initial limitations on such cases were in effect, there were 419
ADA cases filed in the Central District. That number constituted 3% of the civil
actions filed. Filings of such cases increased from 928 (7% of civil cases) in 2014,
the year before the imposition of the additional $1,000 filing fee and additional
pleading requirements for high-frequency litigants, to 1,386 (10% of civil cases) in
2016, the first full year of those requirements. The number and percentage of such
cases filed in the Central District has increased each year since California acted to
limit the filings by high-frequency litigants, reaching 1,670 (12% of civil cases) in

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2017, 1,670 (18% of civil cases) in 2018, and 1,868 cases (24% of civil cases) in
the first six months of 2019.

By enacting restrictions on the filing of construction-related accessibility
claims, California has expressed a desire to limit the financial burdens that
California’s businesses may face from claims for statutory damages and attorneys’
fees under the Unruh Act and any other related state claims brought by serial
litigants. By filing this action in federal court, Plaintiff has evaded these limits and
claimed state law damages in a manner inconsistent with the state law’s
requirements. This situation, and the burden that the ever-increasing number of
such cases poses to the federal courts, present “exceptional circumstances” and
“compelling reasons” that justify the Court’s decision to decline to exercise
supplemental jurisdiction over Plaintiff's Unruh Act claim and any other related
state claims in this action under 28 U.S.C. § 1367(c)(4).

Declining to exercise supplemental jurisdiction over Plaintiff's construction-
related accessibility state claims in these circumstances supports the values of
judicial economy, convenience, fairness, and comity. See Schutza v. Cuddeback,
262 F. Supp. 3d 1025, 1031 (S.D. Cal. 2017) (“[T]he Court finds it would be
improper to allow Plaintiff [a high-frequency litigant] to use federal court as an
end-around to California’s pleading requirements . . . as a matter of comity, and in
deference to California’s substantial interest in discouraging unverified disability
discrimination claims... .”); see also Gibbs, 383 U.S. at 726. Although some
plaintiffs and their counsel have argued that they file in federal court not to evade
California’s restrictions, but because of the quality of the judges, the ease of the
ECF system for filing, and the prevalence of federal ADA decisional authority, the
Court finds that such arguments are unpersuasive and belied by the nature of the
recent dramatic increase in the filing of such cases in federal court. Indeed, those
reasons, if true at all, do not explain why nearly nine times more construction-
related accessibility actions were filed in the Central District in 2019 than were
filed in 2013. As one district court recently explained:

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In attempting to show that his decision to file in federal
court is not simply an attempt to evade California’s
heightened pleading rules, Schutza insists the ‘quality of
judges [and] the quality of legal rulings’ is higher in
federal court. This argument, of course, flies in the face
of our judicial system’s equal respect for state and federal
courts. The convenience of electronic filing and the
widespread availability of published opinions—other
arguments Schutza advances—may be creature comforts
that make filing in federal court more enticing, but they
hardly outweigh the disservice that is done to
California’s efforts to implement and interpret its own
law when federal courts exercise supplemental
jurisdiction over these claims. If Schutza were able to
articulate a persuasive reason for his decision to file in
federal court, perhaps this would be a different story. As
it stands, though, the Court can discern no basis for the
state law claim being filed in federal court other than to
prevent California from being able to apply and enforce
its own rules.

Schutza v. Alessio Leasing, Inc. (Alessio Leasing), No. 18-cv-2154-LAB (AGS),
2019 WL 1546950, at *3 (S.D. Cal. Apr. 8, 2019): see also Schutza, 262 F. Supp.
3d at 1031 (“It is unclear what advantage—other than avoiding state-imposed
pleading requirements—Plaintiff gains by being in federal court since his sole
remedy under the ADA is injunctive relief, which is also available under the Unruh

Act.”).

“Federal courts may properly take measures to discourage forum-shopping,
and here, where Plaintiff has filed over one hundred disability discrimination cases,
and settled more than fifty of them in a two-year period, the Court finds this to be a

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compelling reason to decline supplemental jurisdiction.” Schutza, 262 F. Supp. 3d
at 1031 (citing Hanna v. Plumer, 380 U.S. 460, 467-68 (1965)).

Recently, the Ninth Circuit agreed that a district court may properly decline
to exercise supplemental jurisdiction over ADA-based Unruh Act claims in the
interest of federal-state comity. See Arroyo v. Rosas, 19 F.4th 1202, 1211—14 (9th
Cir. 2021). There, the Ninth Circuit observed that the significant increase in
ADA/Untuh cases in federal court after California’s 2015 amendment to the Unruh
Act “threatens to substantially thwart California’s carefully crafted reforms in this
area and to deprive the state courts of their critical role in effectuating the policies
underlying those reforms.” Jd. at *8. “The ready shifting of ADA-based Unruh
Act cases to federal court has created ‘an ‘end-[run] around’ California’s
requirements,” leading to the conclusion that the comity concerns created by the
exercise of supplemental jurisdiction “involve[] “exceptional circumstances’ within
the meaning of § 1367(c)(4).” Id. at *8—*9.

The Court therefore concludes that “exceptional circumstances” and
“compelling reasons” support its decision to decline to exercise supplemental
jurisdiction over Plaintiff's construction-related accessibility claims under 28
U.S.C. § 1367(c)(4). The Court further concludes that Plaintiff's state claims
substantially predominate over the ADA claim for purposes of 28 U.S.C. §
1367(c)(2). See Schutza, 262 F. Supp. 3d at 1030 (“[Plaintiff’s] nine allegations, if
proven, would entitle Plaintiff to a minimum monetary award of $36,000. In
contrast, under the ADA, Plaintiff would only be entitled to injunctive relief.”); see
also Reyes v. Flourshings Plus, Inc., 2019 WL 1958284, at *2 (S.D. Cal. May 2,
2019) (“The monetary damages Plaintiff seeks under the Unruh Act, [Disabled
Persons Act], and California common law substantially predominate over his
request for injunctive relief under the ADA.”): id. at *3 (“Plaintiff's prior litigation
of lawsuits in this district further supports that he primarily seeks monetary rather
than injunctive relief. Most often, [Plaintiff] settles and/or voluntarily dismisses
his cases with prejudice before or shortly after an answer is filed.”).

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Exercising the Court’s discretion to decline supplemental jurisdiction does
not deprive Plaintiff of any remedies. Nor does it allow an ADA claim for
injunctive relief to go unaddressed. The ADA claim remains pending in this Court.
Whatever inefficiencies that the Court’s refusal to exercise supplemental
jurisdiction causes are problems created by Plaintiff's filing of this action in
federal court rather than in a state court:

[T]here is no relief available to [Plaintiff] in federal court
that could not be secured in state court. Had he brought
this suit in state court, there would have been only one
suit pending and he would have been eligible to receive
every form of relief he seeks: an injunction, money
damages, and attorney’s fees. By being “inefficient” and
declining to exercise supplemental jurisdiction over his
state claim, this Court is simply recognizing that
California has a strong interest in interpreting and
enforcing its own rules without federal courts serving as
a convenient end-around for creative litigants. If that
results in occasional inefficiency, it’s a worthwhile
tradeoff.

Alessio Leasing, 2019 WL 1546950, at *4. The Court additionally notes that if
Plaintiff legitimately seeks to litigate this action in a single forum, Plaintiff may
dismiss this action and refile it in a state court in accordance with California’s
requirements. Indeed, that may be the only course of action that would prevent
Plaintiff from running afoul of the rule against splitting claims that arise out of a
common nucleus of operative facts. See Mattson v. City of Costa Mesa, 106
Cal.App.3d 441, 446-455, 164 Cal.Rptr. 913 (1980). Finally, by declining to
exercise supplemental jurisdiction, the Court is restoring the balance Congress
struck when it enacted the ADA and provided a private right of action for
injunctive relief and an award of attorneys’ fees, but did not allow for the recovery
of statutory damages.

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Il. CONCLUSION

In light of the foregoing, the Court, in its discretion, declines to exercise
supplemental jurisdiction over Plaintiff's state claims asserted in the Complaint.
The Court therefore dismisses any such claims without prejudice. See 28 U.S.C.

§§ 1367(c)(2) & (c)(4).

IT IS SO ORDERED.

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